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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &            FOR COURT USE ONLY
 Email Address

 RON BENDER (SBN 143364)
 KRIKOR J. MESHEFEJIAN (SBN 255030)
 LINDSEY L. SMITH (SBN 265401)
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 LLS@LNBYG.COM

 Proposed Attorneys for Chapter 11 Debtors and Debtors in
 Possession
                                    UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 In re:
                                                          Lead Case No.: 8:22-bk-10948-SC
 TRX HOLDCO, LLC, a Delaware limited liability company,
                                                          Jointly administered with:
          Debtor and Debtor in Possession.                8:22-bk-10949-SC
 ____________________________________
 In re:                                                   Chapter 11 Cases

 FITNESS ANYWHERE LLC, a Delaware limited liability
 company, dba TRX and TRX Training,
                                                                                   NOTICE OF LODGMENT OF ORDER IN
         Debtor and Debtor in Possession.                                          BANKRUPTCY CASE RE: (title of motion1):
 ____________________________________                                              DEBTORS’ MOTION FOR ENTRY OF ORDER (I)
                                                                                   ESTABLISHING BIDDING PROCEDURES FOR FREE
                                                                                   AND CLEAR SALE OF ASSETS; (II) ESTABLISHING
    Affects both Debtors                                                           PROCEDURES RELATING TO ASSUMPTION AND
                                                                                   ASSIGNMENT OF EXECUTORY CONTRACTS AND
    Affects TRX Holdco, LLC only                                                   UNEXPIRED LEASES; (III) APPROVING FORMS OF
                                                                                   NOTICE; (IV) APPROVING FORM OF ASSET
    Affects Fitness Anywhere, LLC only                                             PURCHASE AGREEMENT; (V) SCHEDULING AN
                                                                                   AUCTION; (VI) SCHEDULING A SALE HEARING;
                                                                                   AND   (VII)  GRANTING      RELATED      RELIEF;
                                                                                   MEMORANDUM OF POINTS AND AUTHORITIES


PLEASE TAKE NOTE that the order titled ORDER (I) ESTABLISHING BIDDING PROCEDURES FOR FREE AND
CLEAR SALE OF ASSETS; (II) ESTABLISHING PROCEDURES RELATING TO ASSUMPTION AND ASSIGNMENT OF
EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (III) APPROVING FORMS OF NOTICE; (IV) APPROVING
FORM OF ASSET PURCHASE AGREEMENT; (V) SCHEDULING AN AUCTION; (VI) SCHEDULING A SALE HEARING;
AND (VII) GRANTING RELATED RELIEF was lodged on (date) June 30, 2022 and is attached. This order relates to
the motion which is docket number 89.




         1
             Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99
      In re:                                        Lead Case No.: 8:22-bk-10948-SC
10
10
      TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
11
11    liability company,                            8:22-bk-10949-SC
12
12
              Debtor and Debtor in Possession.      Chapter 11 Cases
13
13    ____________________________________
      In re:                                        ORDER     (I) ESTABLISHING   BIDDING
14
14                                                  PROCEDURES FOR FREE AND CLEAR
      FITNESS ANYWHERE LLC, a Delaware              SALE OF ASSETS; (II) ESTABLISHING
15
15    limited liability company, dba TRX and TRX    PROCEDURES RELATING TO ASSUMPTION
      Training,                                     AND ASSIGNMENT OF EXECUTORY
16
16                                                  CONTRACTS AND UNEXPIRED LEASES;
                                                    (III) APPROVING FORMS OF NOTICE; (IV)
17
17            Debtor and Debtor in Possession.      APPROVING FORM OF ASSET PURCHASE
      ____________________________________          AGREEMENT;     (V)  SCHEDULING    AN
18
18                                                  AUCTION; (VI) SCHEDULING A SALE
                                                    HEARING; AND (VII) GRANTING RELATED
19
19       Affects both Debtors                       RELIEF
20
20
        Affects TRX Holdco, LLC only                Date: June 30, 2022
21                                                  Time: 10:00 a.m.
21
         Affects Fitness Anywhere, LLC only         Place: *Via ZoomGov
22
22                                                         Courtroom 5C
                                                           411 West Fourth Street
23
23                                                         Santa Ana, CA 92701
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 11           A hearing was held at the above-referenced date and time for the Court to consider

 22   approval of the motion (the “Motion”) filed by TRX Holdco, LLC (“Hold Co”) and Fitness

 33   Anywhere LLC, dba TRX and TRX Training (“Product Co” and together with Hold Co and

 44   Product Co, the “Debtors”), the debtors and debtors-in-possession in the above-captioned

 55   Chapter 11 bankruptcy cases1, seeking the entry of an order that, among other things:

 66           (i)     Approves the Debtors’ proposed bidding procedures (“Bidding Procedures”)

 77                   substantially in the form in Exhibit “2” attached to the Declaration of Joshua

 88                   Benn filed by the Debtors as Docket No. 90 (the “Benn Declaration”) for the sale

 99                   of substantially all of the Debtors’ assets related to the operation of the Debtors’
10
10                    business (the “Purchased Assets”), free and clear of all liens, claims,
11
11                    encumbrances and other interests;
12
12            (ii)    Establishes and approves procedures relating to the Debtors’ assumption and
13
13                    assignment of executory contracts and unexpired leases and which approves the
14
14                    form of notice to be provided to all counterparties to executory contracts and
15
15                    unexpired leases attached as Exhibit “3” to the Benn Declaration;
16
16            (iii)   Approves the Debtors’ proposed form of notice to be sent to all creditors, equity
17
17                    holders, proposed buyers and other parties in interest in the form attached as
18
18                    Exhibit “4” to the Benn Declaration;
19
19            (iv)    Approves the Debtors’ proposed form of asset purchase agreement (the “Template
20
20                    APA”) without exhibits in the form attached as Exhibit “5” to the Benn
21
21                    Declaration;
22
22            (v)     Schedules an auction (“Auction”);
23
23            (vi)    Schedules a hearing for the Court to consider approval of the sale of the
24
24                    Purchased Assets to the winning bidder and winning back-up bidder at the
25
25                    Auction (“Sale Hearing”); and
26
26            (vii)   Grants related relief.
27
27
      1
       The Court previously entered an order approving the joint administration of these chapter 11 bankruptcy
28
28    cases.



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 11            Appearances were made at the hearing on the Motion as set forth on the record of the

 22   Court.

 33            The Court, having considered the Motion and all of the pleadings filed by the Debtors in

 44   support of the Motion, the statements, arguments and representations of counsel for the Debtors

 55   made at the hearing on the Motion, any responses or objections filed to the Motion and any

 66   replies filed by the Debtors, the statements, arguments and representations of all other parties

 77   who appeared at the hearing on the Motion, and good cause appearing,

 88            HEREBY ORDERS AS FOLLOWS:

 99            1.      The version of the Bidding Procedures filed with the Court as Docket No. 111
10
10    (without exhibits) is approved.
11
11             2.      July 27, 2022 at 5 p.m. (prevailing Pacific time) is the deadline (the “Initial Bid
12
12    Deadline”) by when initial bids need to be submitted by parties who wish to participate in the
13
13    Auction. In order to participate in the Auction, all prospective bidders must do all of the
14
14    following:
15
15             (i)     Submit a redlined version of the template asset purchase agreement (the
16
16                     “Template APA”) indicating all changes that are requested to be made to the
17
17                     Template APA, with the Template APA to include their proposed initial bid;
18
18             (ii)    Submit all documents to enable Kroll, after consultation with the Debtors, the
19
19                     Official Committee of Unsecured Creditors and Woodforest National Bank, to
20
20                     determine whether the proposed bidder is financially qualified to participate in the
21
21                     Auction; and
22
22             (iii)   Submit a deposit equal to 10% of the proposed initial bid, which 10% deposit
23
23                     would be deemed non-refundable if the bidder is deemed to be the winning bidder
24
24                     at the Auction and then the Debtors’ proposed free and clear sale of the Purchased
25
25                     Assets to the bidder is approved by the Bankruptcy Court. Bidders will have the
26
26                     right to withdraw their bid at any time up until Noon (prevailing Pacific time) on
27
27                     August 2, 2022, in which case they will receive a return of their 10% deposit and
28
28                     no longer be eligible to participate in the Auction.


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 11          3.      The procedures proposed by the Debtors in the Motion relating to the Debtors’

 22   assumption and assignment of executory contracts and unexpired leases are approved, and the

 33   Debtors’ proposed form of notice to be provided to all counterparties to executory contracts and

 44   unexpired leases attached as Exhibit “3” to the Benn Declaration is approved.

 55          4.      The Debtors’ proposed form of notice to be sent to all creditors, equity holders,

 66   proposed buyers and other parties in interest in the form attached as Exhibit “4” to the Benn

 77   Declaration is approved.

 88          5.      The Debtors’ proposed form of Template APA in substantially the form attached

 99   as Exhibit “5” to the Benn Declaration (without exhibits) is approved.
10
10           6.      The Auction shall be held on August 3, 2022 at 10 a.m. (prevailing Pacific time),
11
11    at the offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P., located at 2818 La Cienega
12
12    Avenue, Los Angeles, CA, with Qualified Bidders having the option to participate in person or
13
13    via zoom, and the Auction procedures proposed by the Debtors in the Motion are approved.
14
14           7.      The hearing for the Court to consider approval of the Debtors’ proposed sale of
15
15    the Purchased Assets to the Winning Bidder at the Auction (and to approve the Winning Back-
16
16    Up Bidder) will be held on August 4, 2022, at 11:00 a.m. (the “Sale Hearing”). The Debtors
17
17    shall file their proposed asset sale motion and related pleadings (collectively, the “Sale Motion”)
18
18    with the Court by no later than twenty-one days prior to the Sale Hearing. Any objections to the
19
19    Sale Motion must be filed with the Court by no later than fourteen days prior to the Sale Hearing.
20
20    Any reply pleadings to any objections filed to the Sale Motion must be filed with the Court by no
21
21    later than seven days prior to the Sale Hearing.
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22                                                   ###
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, California 90034

A true and correct copy of the foregoing document entitled NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 30, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) June 30, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 30, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 30, 2022               Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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